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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE: 100% GRATED PARMESAN CHEESE
MARKETING AND SALES PRACTICES LITIGATION                     Case No. 16 cv 5802

                                                             MDL No. 2705
This Document Relates to All Cases on the Kraft
Heinz Company Track                                          Judge Gary S. Feinerman



   MOTION FOR LEAVE TO WITHDRAW APPEARANCE OF MAEBETTY KIRBY

       The undersigned respectfully requests leave to withdraw the appearance of Maebetty

Kirby on behalf of Plaintiff Dan Lang. As of June 8, 2018, Maebetty Kirby is no longer with the

firm of Zimmerman Law Offices, P.C. Plaintiff remains represented by Thomas A. Zimmerman,

Jr. and Nickolas J. Hagman. Permitting Ms. Kirby to withdraw as counsel for Plaintiff will not

jeopardize the case or otherwise negatively impact Plaintiff’s legal representation in this case or

result in any delay or cause prejudice to any other party.

       WHEREFORE, Plaintiff Dan Lang respectfully requests that Maebetty Kirby be granted

leave to withdraw her appearance on behalf of Plaintiff instanter.




Dated: June 11, 2018                                  By: /s/ Thomas A. Zimmerman, Jr.
                                                              Thomas A. Zimmerman, Jr.
                                                              tom@attorneyzim.com
                                                              ZIMMERMAN LAW OFFICES, P.C.
                                                              77 W. Washington Street, Suite 1220
                                                              Chicago, IL 60602
                                                              (312) 440-0020 telephone
                                                              (312) 440-4180 facsimile
